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       EXHIBIT 18
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                                   4328




                  Matt Parrott   @parrot!
                  11 hours

         To clarify, the information was scrubbed on account of widespread concern
         about the data"s security. It was a practical security step, and not a political
         act.

             18                       •                   3




                  Matt Parrott   @parrott
                  18   hours


        All of the information systems are completely air-gapped and will be
        destroyed within a few hours in order to guarantee all membership
        information literally no longer exists anywhere.

            23                        •     11             13     ii
